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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division


UNITED STATES OF AMERICA                     )
                                             )
               v.                            )               Criminal No.: 2:07cr41
                                             )
JULIUS C. BERNARD                            )

                    RESPONSE OF THE UNITED STATES TO MOTION
                         FOR MODIFICATION OF SENTENCE

       The United States of America, by and through undersigned counsel, hereby files its

response to the defendant’s motion, and this Court’s November 17, 2014 Order, regarding a

modification of the defendant’s sentence pursuant to Title 18, United States Code, Section

3582(c)(2), and U.S.S.G. § 1B1.10.

       Having pleaded guilty to Count One of the Indictment which charged conspiracy to

distribute and possess with intent to distribute 5 kilograms or more of cocaine, on June 25, 2007

the defendant was sentenced to 156 months’ imprisonment. The defendant’s guideline range

was calculated using a base offense level of 34 minus three points for acceptance of

responsibility, resulting in a total offense level of 31. The defendant’s criminal history category

was III. This yielded a guideline range of 135-168 months’ imprisonment.

       Section 3582(c)(2) “establishes a two-step inquiry. A court must first determine that a

reduction is consistent with § 1B1.10 before it may consider whether the authorized reduction is

warranted, either in whole or in part, according to the factors set forth in § 3553(a).” Dillon v.

United States, 560 U.S. 817, 826 (2010).

       Under application note 1(A) to Section 1B1.10: “Eligibility for consideration under 18

U.S.C. § 3582(c)(2) is triggered only by an amendment listed in subsection (d) that lowers the
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applicable guideline range (i.e., the guideline range that corresponds to the offense level and

criminal history category determined pursuant to §1B1.1(a), which is determined before

consideration of any departure provision in the Guidelines Manual or any variance).”

          The defendant is correct that Amendment 782 reduced the guideline range applicable in

his case, and therefore the Court may consider whether to reduce his sentence. The Court

determined that over the life of the conspiracy, the defendant distributed 38.25 kilograms of

cocaine and 10 pounds of marijuana, which converts to 7,654.536 kilograms of marijuana. The

base offense level in this case therefore falls from 34 to 32, pursuant to Section 2D1.1 as

amended by Amendment 782, made retroactive by Section 1B1.10(d). When combined with the

other guideline applications made earlier, as required by Section 1B1.10(b)(1), the final offense

level is 29. At the established criminal history category of III, this would result in a sentencing

range of 108-135 months. This is a reduction in the originally applied range of 135-168 months’

imprisonment.

          The extent of the permissible reduction is strictly limited. Congress delegated to the

Sentencing Commission the authority to determine to what extent a sentence may be reduced.

See 18 U.S.C. § 3582(c)(2); 28 U.S.C. § 994(u); Dillon v. United States, 560 U.S. 817, 826

(2010) (“The SRA charges the Commission both with deciding whether to amend the Guidelines,

§ 994(o), and with determining whether and to what extent an amendment will be retroactive, §

994(u).     A court’s power under § 3582(c)(2) thus depends in the first instance on the

Commission’s decision not just to amend the Guidelines but to make the amendment retroactive.

The court is also constrained by the Commission’s statements dictating ‘by what amount’ the

sentence of a prisoner serving a term of imprisonment affected by the amendment ‘may be

reduced.’”).    “Subsection 1B1.10(b)(2)’s limitation on a district court’s sentence-reduction




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authority is absolute.” United States v. Jackson, 751 F.3d 707, 711 (6th Cir. 2014).

       The Commission directed in Section 1B1.10(b) that, with one exception (where the

defendant earlier received a below-guideline sentence based on substantial assistance), “the court

shall not reduce the defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) and this

policy statement to a term that is less than the minimum of the amended guideline range

determined under subdivision (1) of this subsection.”          U.S.S.G. § 1B1.10(b)(2)(A).    An

application note adds: “Under subsection (b)(2), the amended guideline range determined under

subsection (b)(1) and the term of imprisonment already served by the defendant limit the extent

to which the court may reduce the defendant’s term of imprisonment under 18 U.S.C. §

3582(c)(2) and this policy statement. Specifically, as provided in subsection (b)(2)(A), if the

term of imprisonment imposed was within the guideline range applicable to the defendant at the

time of sentencing, the court may reduce the defendant’s term of imprisonment to a term that is

no less than the minimum term of imprisonment provided by the amended guideline range

determined under subsection (b)(1).” U.S.S.G. § 1B1.10 app. note 3 (Nov. 1, 2011). Thus, the

Court may not reduce the sentence below the range provided by the amended guideline, and “in

no case . . . shall the term of imprisonment be reduced below time served.” Id.

       Here, the Court originally sentenced the defendant to a total of 156 months, which was in

the middle of the advisory guideline range.         The defendant was attributed with 7,654.536

kilograms of marijuana and therefore based on the Retroactive Drug Guidelines Amendment, his

amended base offense level is now 32 minus three points for acceptance of responsibility, for a

total offense level of 29 with a criminal history category III. This results in an amended

guideline range of 108 to 135 months and a restricted guideline range of 120 to 135 months

because of the statutory mandatory minimum in this case. Because the defendant’s advisory




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guideline range has been reduced, he is eligible for a sentence reduction from 156 months to 120

months.

       However, the Sentencing Commission has directed, in Section 1B1.10(e)(1) (effective

November 1, 2014), that any order pursuant to Amendment 782 reducing a sentence may not

release a defendant earlier than November 1, 2015. Also, a defendant cannot receive a sentence

reduction that is greater than the number of months between November 1, 2015 and the

defendant’s projected release date which is presently set at May 20, 2017. This calculates to a

sentence reduction no greater than 18 months and 19 days.



                                                   Respectfully submitted,

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                                                   United States Attorney

                                            By:                  /s/
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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of December, 2014, I electronically filed the

foregoing Response of the United States to Defendant’s Motion for Modification of Sentence

with the Clerk of Court using the CM/ECF system and mailed a copy to the following non-filing

user:


                                      Julius C. Bernard
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                                                                  /s/
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